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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION

 UNITED STATES OF AMERICA                          CRIMINAL ACTION NO. 11-00062-01
                                                   CIVIL ACTION NO. 13-03090

 VERSUS                                            JUDGE S. MAURICE HICKS, JR.

 WILLIAM L. BARTON                                 MAGISTRATE JUDGE HORNSBY

                                 MEMORANDUM RULING

        Before the Court are Petitioner William L. Barton’s (“Barton”) Motion to Vacate, Set

 Aside, or Correct Sentence under 28 U.S.C. § 2255 (Record Document 688) and

 Successive § 2255 Motion (Record Document 752). In the first Motion, Barton seeks an

 order (1) granting equitable tolling of the one-year time limit for filing § 2255 motions such

 that the first Motion will be timely and (2) setting aside his conviction. See Record

 Document 688. The second Motion argues for a reduction in Barton’s sentence on the

 basis that the Court failed to take certain mitigating factors into account in imposing his

 sentence. See Record Document 752. For the reasons contained in the instant

 Memorandum Ruling, Barton’s § 2255 Motions are DENIED.

                     FACTUAL AND PROCEDURAL BACKGROUND

        On September 13, 2011, Barton pleaded guilty to count one of an indictment

 charging him with engaging in a child exploitation enterprise in violation of 18 U.S.C.

 § 2252A(g). See Record Documents 311 and 312. On January 5, 2012, the Court

 sentenced Barton to 327 months in prison. See Record Document 413. On January 13,

 2012, the Court entered the judgment into the record. See Record Document 414. On

 August 23, 2013, Barton filed a motion for extension of time to file a § 2255 Motion. See

 Record Document 676. The Court denied this Motion. See Record Document 678. The


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 first § 2255 Motion is dated November 12, 2013, and is post-marked as sent from his

 correctional institution on November 14, 2013. See Record Documents 688 and 688-5.

 The Court received the Motion on November 18, 2013. See Record Document 688. The

 Government filed a response to the Motion on January 17, 2014, opposing the application

 of equitable tolling to the Motion such that the Motion will be timely and arguing for denial

 of the Motion as untimely. See Record Document 698. Barton filed a reply on May 1,

 2014. See Record Document 712. The Court received Barton’s second § 2255 Motion on

 January 3, 2017. See Record Document 752.

                                         ANALYSIS

        A. Barton’s First § 2255 Motion (Record Document 688)

        Before the Court can address Barton’s arguments for setting aside his conviction,

 the Court must first determine whether Barton’s Motion is timely. Title 28, United States

 Code, § 2255(f) provides:

        A 1-year period of limitation shall apply to a motion under this section. The
        limitation period shall run from the latest of –

        (1)    the date on which the judgment of conviction becomes final;

        (2)    the date on which the impediment to making a motion created by
               governmental action in violation of the Constitution or laws of the
               United States is removed, if the movant was prevented from making
               a motion by such governmental action;

        (3)    the date on which the right asserted was initially recognized by the
               Supreme Court, if that right has been newly recognized by the
               Supreme Court and made retroactively applicable to cases on
               collateral review; or

        (4)    the date on which the facts supporting the claim or claims presented
               could have been discovered through the exercise of due diligence.

 28 U.S.C. § 2255(f). Here, § 2255(f)(1) is controlling.



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        In connection with the filing of a § 2255 motion, “a conviction becomes final when

 a defendant’s options for further direct review are foreclosed.” United States v. Thomas,

 203 F.2d 350, 352 (5th Cir. 2000). When a defendant fails to file a timely notice of appeal,

 his conviction is final upon the expiration of the time for filing a notice of appeal. See

 United States v. Plascencia, 537 F.3d 385, 388 (5th Cir. 2008). At the time of Barton’s

 conviction, the time for filing a notice of appeal was 14 days after the entry of the

 judgment. See Fed. R. App. P. 4(b). Because the judgment in Barton’s case was entered

 on January 13, 2012, he had until January 27, 2012, to file a timely notice of appeal.

 Therefore, he had until January 27, 2013, to file a timely § 2255 Motion. He did not file

 the instant Motion until November 12, 2013, at the earliest. See Record Document 688-

 5; see United States v. Franks, 397 Fed. Appx. 95, 98 (5th Cir. 2010) (under the prison

 mailbox rule, a prisoner’s motion is deemed filed the day the motion is deposited into a

 legal mailbox at the prisoner’s correctional institution).

        Barton recognizes that his first Motion is untimely under the one-year time limit for

 such motions under § 2255. See Record Document 688 at ¶ 18. However, he argues that

 equitable tolling should apply to make his Motion timely. See id.; see Record Documents

 688-1 and 712. He recounts numerous details of his incarceration to demonstrate that he

 lacked access to his legal papers, a law library, and “competent advice from a qualified

 law library clerk” for various time periods during the one-year period in which he could

 have filed a timely § 2255 Motion. Record Documents 688-1 and 712. According to

 Barton, he was in administrative detention for his own protection from March 3, 2012, to

 April, 11, 2012, and May 17, 2012, to August 8, 2012 at Federal Detention Facility-




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 Sheridan. See Record Document 688-1. During these periods of administrative detention,

 he states that he did not have access to the inmate law library. See id.

        From August 9, 2012, to August 31, 2012, Barton states that he was “in transit” to

 Federal Correctional Facility-Florence. See id. Once there, he alleges that from his arrival

 through the timely filing deadline of January 27, 2013, there were periodic lockdowns at

 the facility that prevented him from accessing the law library at various times. See id.

 Barton states that “at this point in time, [Barton] was not aware of the process of filing a

 § 2255 Motion.” Record Document 712. He also alleges that he sought help from a law

 library clerk, a fellow inmate at this institution, in pursuing his post-conviction rights. See

 id.; see Record Document 688-1. Barton claims that this law library clerk “never

 completed anything nor directed [Barton] in the right direction in filing” Barton’s § 2255

 Motion. Id. Additionally, this law library clerk “had possession of the § 2255 forms and

 instructions that [Barton] had received from the Court.” Id. According to Barton, prison

 officials later confiscated this law library clerk’s documents because he had been

 misusing his position and taking advantage of other inmates. See Record Document 712.

        “The timeliness provision in [§ 2255] is subject to equitable tolling.” Holland v.

 Florida, 560 U.S. 631, 634 (2010). However, “a petitioner is entitled to equitable tolling

 only if he shows (1) that he has been pursuing his rights diligently, and (2) that some

 extraordinary circumstance stood in his way and prevented timely filing.” Id. at 649

 (internal quotations omitted). Equitable tolling is only appropriate in “rare and exceptional

 circumstances.” Scott v. Johnson, 227 F.3d 260, 263 (5th Cir. 2000).

        The Court finds that Barton does not meet either of the elements necessary to

 benefit from equitable tolling of the one-year limitations period for filing § 2255 Motions.



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 From the facts Barton has alleged, there is no indication that Barton pursued his right to

 file a § 2255 Motion diligently from the beginning of the one-year period on January 27,

 2012, to at least August 31, 2012, as Barton admits that he was unaware of the procedure

 for filing a § 2255 Motion until he arrived at Federal Correction Facility-Florence. See

 Record Document 712. Though he alleges that the law library clerk at that facility took

 advantage of him and did not follow through on his promises to help Barton with his

 § 2255 Motion, the ultimate responsibility for filing the Motion was Barton’s. Barton points

 to no authority entitling him to legal aid in filing a § 2255 Motion, and the Court is unaware

 of any such entitlement. Though the Court is aware of the difficulties pro se litigants

 encounter in familiarizing themselves with federal post-conviction procedure, Barton

 could have requested a new form for filing a § 2255 Motion from the Clerk of Court, and

 he could have looked up the law regarding filing a § 2255 Motion in the law library while

 the facility was not on lockdown. Instead, he did not make any effort to file a § 2255 Motion

 on his own during this time period, but rather relied upon the law library clerk to do so.

 Barton’s only effort to assert his § 2255 rights came on August 23, 2013, when he filed a

 motion for extension of time to file a § 2255 Motion; notably, he filed this motion many

 months after the period for timely filing a § 2255 Motion had already expired. See Record

 Document 676.

        The facts Barton presents do not demonstrate diligent pursuit of his rights or

 extraordinary circumstances preventing him from filing his § 2255 Motion. Barton may

 have only had about five months (August 31, 2012, to January 27, 2013) in which he was

 both aware of his right to file a timely § 2255 Motion and able to access a law library to

 research the requirements for such a Motion, but this does not mean that he is entitled to



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 equitable tolling. When impediments to timely filing a § 2255 Motion are removed such

 that a prisoner has adequate time in which to file a timely Motion, the prisoner is not

 entitled to equitable tolling of the one-year time limitation. See Scott, 227 F.3d at 263. The

 impediments Barton faced were removed by at least August 31, 2012, with only the

 intermittent interruption of his access to the law library caused by lockdowns at the facility

 after that date. Barton’s trust in and reliance upon a nefarious law library clerk, without

 any attempt to file a Motion on his own, does not constitute the type of “reasonable

 diligence” or “extraordinary circumstance” that would justify equitable tolling. Holland, 560

 U.S. at 649, 653.

        The Court notes that it has reviewed the cases Barton cites in support of his

 argument, but finds them inapplicable and/or distinguishable from the instant action. Bills

 v. Clark, 628 F.3d 1092, 1099-1100 (9th Cir. 2010), addresses the standard for equitable

 tolling applicable when a § 2255 movant bases his equitable tolling claim on mental

 impairment. As Barton makes no such claim, that case is inapplicable to the instant action.

 Miller v. New Jersey State Dept. of Corr., 145 F.3d 616, 616-619 (3rd Cir. 1998), merely

 confirms that equitable tolling is available to toll the one-year period for filing a § 2255

 Motion. That decision offers no help to Barton, as the Miller court remanded the case to

 the district court to consider whether equitable tolling applied without making a

 determination of whether it did apply. See 145 F.3d at 618. In United States v. Mendoza,

 449 F.3d 1065, 1067 (9th Cir. 2006), the court determined that Mendoza had presented

 facts that, “if true, could entitle him to equitable tolling.” However, Mendoza’s claim was

 based upon the unavailability of Spanish-language materials in the prison law library, an

 issue entirely absent in the instant action. See id. at 1067-68. The Court has attempted



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 to find what Barton cites as “United States v. Diaz, 515 F.3d 616, 617 (2nd Cir. 2007),”

 but that citation is incorrect. Thus, the Court finds that the authorities Barton cites offer no

 support to his equitable tolling argument.

        B. Barton’s “Successive § 2255 Motion” (Record Document 752)

        Barton’s second Motion is titled “Successive § 2255 Motion.” Record Document

 752. Thus, Barton recognizes that this is a second or successive motion under 28 U.S.C.

 § 2255(h). Under this section, a second or successive § 2255 Motion:

        must be certified . . . by a panel of the appropriate court of appeals to
        contain--
    (1) newly discovered evidence that, if proven and viewed in light of the
        evidence as a whole, would be sufficient to establish by clear and
        convincing evidence that no reasonable factfinder would have found the
        movant guilty of the offense; or
    (2) a new rule of constitutional law, made retroactive to cases on collateral
        review by the Supreme Court, that was previously unavailable

        Barton appears to recognize that his Motion must meet either of these categories

 before the Court can consider it, as his Motion states, “Please see Beckles v. United

 States, 135 S. Ct. 2928, U.S. No. 15-8544, argued 11/28/16, certiorari. The exaggeration

 and out-of-context issue(s) raised in Beckles apply, not any similarity in charge(s).” This

 appears to be an attempt to point to recent Supreme Court authority that might entitle him

 to file a second § 2255 Motion. However, as no evidence of certification by the Fifth Circuit

 Court of Appeals allowing Barton to file a second § 2255 Motion has been provided, the

 second § 2255 Motion is also DENIED.

                                        CONCLUSION

        Based on the foregoing, the Court finds that Barton’s first § 2255 Motion fails

 because (1) the motion is untimely and (2) he is not entitled to equitable tolling of the one-

 year limitations period to make this Motion timely. Accordingly, his Motion to Vacate, Set

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 Aside, or Correct Sentence Under 28 U.S.C. § 2255 (Record Document 688) is hereby

 DENIED. Additionally, his second § 2255 Motion (Record Document 752) is DENIED for

 failing to first secure a certification by the Fifth Circuit Court of Appeals allowing Barton to

 file a second § 2255 Motion.

        Pursuant to Rule 11(a) of the Rules governing § 2255 proceedings for the United

 States District Courts, this Court must issue or deny a certificate of appealability when it

 enters a final order adverse to the applicant. “Before entering the final order, the court

 may direct the parties to submit arguments on whether a certificate should issue.” Rule

 11(a) Rule Governing Section 2255 Proceedings for the United States District Courts

 (emphasis added). Unless a Circuit Justice or a Circuit or District Judge issues a

 certificate of appealability, an appeal may not be taken to the court of appeals.

        In this instance, a certificate of appealability is DENIED because the applicant has

 failed to demonstrate a substantial showing of the denial of a constitutional right in either

 of his § 2255 Motions.

        An order consistent with the instant Memorandum Ruling shall issue herewith.

        THUS DONE AND SIGNED at Shreveport, Louisiana, on this the 17th day of

 January, 2017.




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